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PLAINTIFF ATTORNEY
CETCE K. Brent Jamer_fotes Hurawead,

 

David Cakland, Alejandro.
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DEFENDANT ATTORNEY

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